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Hida|go County C|erks OfFlce

CAUSE NO.: CL-14-4595-E

JON P|ERRE GENDRON |N THE COUNTY COURT
Plaintiff

V. AT LAW NUMBER FlVE
SAFECO |NSURANCE OF AIV|ERICA
And GENERAL lNSURANCE CON|PANY

OF AMER|CA
Defendant

§
§
§
§
§
§
§
§
§

H|DALGO COUNTY, TEXAS

 

PLA|NT|FF’S FlRST AMENDED PET|TION

 

TO THE HONORABLE JUDGE OF SA|D COURT:

NOW COMES JON PIERRE GENDRON (“P|aintifi”), complaining of and about
SAFECO INSURANCE COMPANY OF AMERICA hereinafter referred to as (“Safeco”)
and GENERAL lNSURANCE COMPANY OF ANIER|CA (“General lnsurance”)
(co|lectively referred to as “Defendants"), and for cause of action respectfully shows
unto the Court the following:

CLA|M FOR REL|EF

1. The damages sought are within the jurisdictional limits of the Court.
P|aintiff seeks monetary relief in excess of $100,000.00, including damages, penalties,
cost, expenses, pre-judgment interest and attorney's fees.

DlSCOVERY CONTROL PLAN LEVEL

2. Plaintiff intends to conduct discovery under Leve| 2 of the Texas Ru|es of

Civi| Procedure.
PART|E_S AND_S§RV|(Y
3. P|aintiff, JON PlERRE GENDRON, is an |ndividual whose address is 1806

. - _ _ - - t ' ll s b ‘n d
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Hida|go County C|erks thce

Forrest Lane, Wes|aco, Hida|go County, Texas 78596.

4. The last three digits of the driver’s license number of JON P|ERRE
GENDRON are 074.

5. Defendant, SAFECO |NSURANCE COMPANY OF Ai\/lERlCA has already

been served with citation.

6. Defendant, GENERAL |NSUANCE CO|V|PANY OF AMER|CA, insurance
carrier, organized and existing under the laws of the State of Massachusetts and
authorized to conduct business in Texas, may be served with process by serving its
registered agent for service by private process server at the following address:
Corporation Service Company. 211 East 7"‘ Street, Suite 620, Austin, Texas 78701-
3218. However, Frank Sabo of Guerra, Leeds, Sabo, & Hernandez, P.L.L.C., attorney
for Genera| insurance Company of America has agreed to accept service at his office
located at 10213 N 10th St., McAllen, TX 78504. An acceptance of service will be

executed and filed with the Court in accordance with Texas Ru|e of Civil Procedure 119.

JUR|SDICT|ON AND VENUE

7. The subject matter in controversy is within the jurisdictional limits of this
Court.

8. This Court has jurisdiction over the parties. The Court has personal
jurisdiction over Defendants, Safeco and Genera| |nsurance, nonresidents, because
Defendants engaged in business in Texas by contracting with a Texas resident The
contract was performab|e in whole or in part in Texas by both parties.

9. Under Section 15.002(a)(1) of the Texas Civil Practice and Remedies

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Hida|go County C|erks Office

Code1 venue in Hidaigo County is proper in this cause because ali or a substantial pari
of the events or omissions giving rise to this lawsuit occurred in this county.
M

10. On February 19, 2010, Mr. Gendron was traveling westbound on Trenton
in his 2004 Brown F-150, with a 2007 utility trailer attached, on the 2500 B|ock of W.
Trenton, in iVicAllen, Texas, in a reasonably prudent manner. Be|inda C. Rodriquez,
(hereinafter “Rodriguez”) was driving westbound, behind Piaintiffl when she abruptly
and recklessly failed to control her speed which caused the collision with Piaintiff.
Piaintiff suffered property damage and personal injury as a resu|t.

11. P|aintiff filed suit against Rodriguez and recovered the policy limits for
personal injury from Rodriguez’s insurance poiicy. However, Nlr. Gendron’s damages
are in excess of Rodriguez’s insurance policy iimits.

12. Nir. Gendron has an insurance policy with Defendant Safeco and Genera|
insurance, which contains coverage for uninsured/underinsured motorists.

PLA|NTiFF’S BREACH OF CONTRACT AGA|NST SAFECO
AND GENERAL |NSURANCE

13. Safeco, Generai lnsurance, and Piaintiff entered into an insurance
contract intended to provide Plaintiff with coverage for property damage and bodily
injury for uninsured/underinsured motorists. Attached hereto and incorporated by
reference as Exhibit “A” is a true and correct copy of the poiicy.

14. Piaintiff has complied with all of the policy conditions Piaintiff incurred
property damage and medical expenses in excess of the policy limits of Rodriguez’s

insurance, thus triggering the uninsured/underinsured motorist provision of the policy

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Hida|go County C|erks Oflice

between Mr. Gendron, Safeco and Genera| |nsurance. Safeco and Generai insurance
have breached its contract with P|aintiff by failing to pay the covered losses.

15. P|aintiff will show that Rodriguez was an underinsured motorist at the time of
the collision made the basis of this suit. P|aintiff would further show that he suffered
injuries as a result of the collision and that such injuries were caused by Rodriguez’s
negligence in addition, P|aintiff will show that that damages he sustained are in excess
of Rodriguez’s policy iimits.

16. Aii conditions precedent have been performed or have occurred.

REQUEST FOR DECLARATORY REL|EF

17. Aiternative|y, and without waiving the foregoingl P|aintiff requests
declaratory relief from this Court. The purpose of the Declaratory Judgment Act of
Chapter 37 of the Texas Civil Practice and Remedies Code “is to settle and to afford
relief from uncertainty and insecurity with respect to rights, status, and other legal
relations." Tex. Civ. Prac. & rem. Code §37.002(b).

18. P|aintiff is entitled to declaratory relief because there is a justiciable
controversy that exists regarding the rights of P|aintiff under the uninsured/underinsured
motorist provision of the poiicy.

19. Accordingiy, pursuant to Tex. Civ. Prac. & Re. Code Ann. §37.001, P|aintiffs
request that this court enter a declaratory judgment as to liability and damages

20. Attorney Fees. P|aintiffs are entitled to recover reasonable and necessary
attorney fees that are equitable and just under Texas Civil Practice & Remedies Code

section 37.009 because this is a suit for declaratory relief.

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Hida|go County C|erks Ofiice

DAMAGES FOR PLAINTIFF JON P|ERRE GENDRON

 

21. As a direct and proximate result of the occurrence made the basis of this

lawsuit, P|aintiff was caused to suffer personal injuries to his person as well as property

damages to his vehicle, and to incur the following damages:

A.

inan

f""

Reasonabie medical care and expenses in the past. These
expenses were incurred by P|aintiff for the necessary care and
treatment of the injuries resulting from the incident complained of
herein and such charges are reasonable and were usual and
customary charges for such services in Hida|go County Texas;
Reasonabie and necessary medical care and expenses which will
in all reasonable probability be incurred in the future;

Physical pain and suffering in the past;

Physical pain and suffering in the future;

Physical impairment in the past;

Physical impairment which, in all reasonable probability; will be
suffered in the future;

Loss of earnings in the past;

Loss of Household Services in the past;

Property damages;

iVlental anguish in the past;

Mental anguish in the future; and

The damages P|aintiff may be entitled to under the |aw.

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Hida|go County C|erks 'Offlce

JURY DEiiiiAND

22_ P|aintiff demands a jury trial and tenders the appropriate fee with this

pehhon.
PRAYER

VVHEREFORE, PRE|\/iiSES CONS|DERED, P|aintiff respectfully prays that the
Defendants be cited to appear and answer herein, and that upon a final hearing of the
cause, judgment be entered for the P|aintiff against Defendants Safeco and Genera|
insurance for damages in an amount within the jurisdictional limits of the Court; post~
judgment interest at the legal rate, costs of court; and such other and further relief to

which the P|aintiff may be entitled at law or in equity

Respectfuliy submitted1

By: %/V//; /
F. PE'R
s§?! ear No_. 2402761¥
J AN ivl. PEQUENO, .

State Bar No. 24079124

JoNEs, GALL|GAN, KEY & l_ozANo, L.L.P.
Town Center Tower, Suite 300

2300 V\iest Pike Bouievard

Post Office Drawer 1247 (78599-1247)
Wesiaco, Texas 78596

Teiephone: (956) 968-5402
Te|ecopier: (956) 969-9402

E-i\/lail: ifperez@jgki.com

ATTORNEYS FOR PLA|NT|FF JON P|ERRE GENDRON

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Hida|go County C|erks Ofiice

CERT|FICTE OF SERV|CE

i hereby certify that ue and correct copy of the foregoing has been sent to the
following on this the jj day of February, 2015:

SAFECO |NSURANCE Via Certified l\/lail: 7013 3020 0000 8656 0700
CONiPANY OF AlViERlCA Return Receipt Requested
175 Berkeley St.,

Boston, i’\/iassachusets 021“|6-5066

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_ Safeco insurance

TEXAS PERSONAL AUTO POLICY

SAFECO |NSURANGE COMPANY OF AMEHICA
Home Offics: 4333 Brooidyn Ave. N.E., Seattie, Washlngton 98185

GENERAL |NSLlFiANOE COMPANY OF AMEFiiOA
i-iome Ofiice: 4333 Brooklyn Ave. N.E,, Seattie. Washington 98185

SAFECO |NSURANGE OOMPANY OF iLL|NO|S
Home Office: 2800 W. i-iiggins Rd., Suiie1100, i-ioiiman Estates. illinois 60195

(Each a stock insurance company.)

RE D%\;§REFERENCE TO YOUR AUTO POL|CY

 
  
 
 

Beglnn|ng
On Paga
AGF|EEMENT 1

DEFIN|T|ONS

PART A -- LiABiLlTY COVERAGE 2
insuring Agreement .
Suppiemsntary Payments
Exciusions
Limit of Liabiiity
Out of State Coverage
Financiai Responsibiiity
Other insurance

PART 31 - MEDICAL PAYMENTS COVERAGE
insuring Agnaement
Exoiusions
Limit of liability _
Other insurance ?- .

PAFiT 32 - PEFiSONAL iNJUFiY PROTECTION GOVEHAGE 7
insuring Agreement
Exciuaions
Limit of Liability
Othsr Insurance
Other Prcvisions

PART C-- UNINSUHED!UNDERINSUF|ED MOTOR|STS COVERAGE § 10
insuring Agreement
Exciusions
i.imit of Liabi|ity
Othsr insurance

FAFiT D --» COVERAGE FOFi DAMAGE TO \'OUFi AUTO 13
insuring Agreement
Transportation Expenses
Exoiusions
Limit of Liability
Payrnent of Loss
No Benefitto Baiiee
Other Soumes oi Recovery
Appraisal

LiMlTED MEX|CO COVEHAGE 17
FAHT E _- DUT|ES AFTER AN ACCIDENT OH LOSS 17

PART F - GENERAL PROV|S|ONS 18
Poiicy Period and ’i'erritory
Ghsnges
Tenninat|on
Two or More Autos insured; Two or More Auto Ponoies

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ADDIT|ONAL OOVERAGES 22
Towing and Labor Oosts coverage
Loss of Use Ooverage
Suppiementary Death Beneiit

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AGREEMENT

 

Subjecttothe payment oi all premiums, when due. and in reliance upon the statements in the application, and
subject to the terms of this potcy. we make the following agreements with ycu.

 

DEFINITIONS

 

A. Throughout this policyl "you“ and "your“ reierto:

B.

C.

SA-i B$Zfl'XEP 1 908

1. The llnamed insured" shown in the
Deciarations;

2. The spouse it a resident of the same
household

 

the spouse wil -e considered “ycu“ and
‘your" under l '?_' - jig ring a period of
separation in con = tionofdivcrce and
oniyuntii the effectivedate cf anotherpoiicy
listing the spouse as a named ins ‘

3. The civil partner,iie resident ¢` esa"'s"
household, by civil union ii ased af
certified by the state; or tips .- .,,"

4. nedomesilo partner, lraresice‘n the
same househoid;

“Domsstlc partner" means a person living
as a continuing partner with you and:

(a) is at least 18 years of age and
competent to contract;

(b) is not a reiative; and

(c) shareswith you the responsibility for
each other’s welfare, evidence of
which inciudes:

(1) theshallng in domestic responsi-
bilities fortiie maintenance of the
househoid; or

(2) havingjointfinanciaiobligations
resources. or assets; or

(3) one with whom you have made
a declaration ct domestic
partnershiporslmiiardeciaraticn
with an employeror government
entity.

Domestio partner does not include more
than one person, a roommate whether
sharing expenses equally or nor. or one
who pays rent to the named insured.

"We,' "us" and “our‘" refer to the Oornpany
providing this insurance

For purposes ofthie poiicy. a private passenger
auto shell be deemed to be owned by a person
ii iessed:

1. Under awritten agreement to that person;
and

D.

2. For a continuous period cf at least six
mcnths.

Throughoui the poiioy, “minimurn iimits” refers
to the following limits of liability required by
Texas Civil Ststues, Artioie 6701h. entitled
"Texas Motcr Vehicie Safety ResponsibilityAct,"
to be provided under a policy of automobile
liability insurance:

1. $20.000 ior each person, subject to
$40.000 for each accident, with respect to
bodily |njury; or

2. $15,000 for each accident with respect to
property damage.

Other words end phrases are defined They are in
bold type when used.

  

L.

.....1__

“Bodily injury" means bodily harm, sickness

cr disease. including death that results.

ness day" means a day other than a

Saturday. Sunday or holiday recognized by the
` ' state of Texas.

"Famliy member" means a person related to
you by bicod. marriage, civil union. domestic
partnershipor'-»t`_ -“ f._e whole a resident of your
household Th `E`i! - ` des award orioeter child
who is a reside .i your household

“Fungi" mean_ y type cr form of fungus,
including yeast,` inoid or mildew, blight or
mushroom and any myootoxins. spore. seems
cr other substancesl products or byproducts
producedl released by or arising out of fungi,
including growth. proliferation cr spreadoftungi
or the current or past presence of iungl.
i-iowever. this definition does not include any
iungiintsndsd bythe insured for consumption

“Occupying” means in; upon; or getting in, onl
out cr ofi.

“Properiy damage” means physical injury or
destruction oi tangible property including loss
of use.

“Punitlvs or exemplary damages" include
damages which are awarded to punish or deter
wrongiui conduct. to set an exampie. to fins.
penalize or impose a statutory penalty, and
damages which are awarded for any purpose
other than as compensatory damageer bodily

   
   

l injury or property damage.

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property damage for which any insured
becomesiegally responsible because oianauto
accident We will settle or delend, as we oon~
elder appropriate. any claim cr suit setting for
these damages in edition tcourlimltcl |labitlty,
we will pay all defense costs we incur. Our duty
to settle or defend ends when our|imitcl liability

_g_.

M. “`l'railsr" means avehlcledesigned tc be pulled policy period shown on the
by a: Declaratlcns; and
1. Private passenger auto; or (b) literate no other insurance
policy that provides cover-
2. Plckup,van or motorhcme. age for wm mp!a°emem
lt also means a recreational camping vehicle. vehicle.
afarm wagon orfann impiementwhlle towed by (2) New'
. y Acqulred Additionai
a vehicle listed in M.‘l. or M.2. abcve. vehicle_ " a newly acquer
N. “Ycur covered auto" means: vehicle is in aec;!dlticn to 1fahy
. . shown in the D araticns. at
1. Any vehicle shown rn the Declaratrorre. vehiote wm have the broadest
2. a. Any of the following types of vehicles coverage we now provide iorany
on the date you become the cwner, vehicle shown in the Declara-
subjectto the conditions under N.2.b. tlons. This provision applies only
below, whether operational cr not: if:
(1) sprivate passenger auto; (a) you acquire the additional
. vehicle during the policy
(2) a pickup orvan that. period shown on ms
(a) has aGross Vehlcle Welght Deolarations; and
:;:tlsrvgmgi 25’000 lbs' or (b) thereis nooiherinsurance
' policy that provides cover-
(b) is not used for the delivery age for the additional
cr transportation of goods vehicle.
::;' l';'?‘e"“'” ““'“B *""°“ {e) Provrsrons N.z.b.nr and (2)
' apply only iiyou ask ustc insure
l. incidental to your a newly acquired vehicle within
business of installing thirty (30) days afterycu acquire
maintaining or repalr~ the replacement cr additional
ing furnishings or vehicle. This thirty (30) days cf
equipment; or coverage includes the day you
il. for farming or ranch- acquer the Whl°le'
lng; or 3. Any auto cr trailer you do not own while
used as a temporary substitute tor any
(3) a m°wrh°me °r `m"°r‘ other vehicle described in this detinition
b. Thevelricieslistsdin N.z.a. above are which is cut of normal use because of its:
:u)bla;;:vo th;;;llowing conditions: at breakdown;
1 ly ulrcd Fieplecement ,
Vehlclo. li the vehicle you b' '°Palr‘
acquire replaces one shown in c. servicing;
the Declarations. the replaoe- d !°ss_ or
mentvehlcle will have the same ' ’
coverage as the vehicle it e. destruction
;°ni:;°‘l?d"rhis Pr°vis'°" applies This provision (N.3.) does not apply tc
' Ooverage for Damage to Your Auto.
(a) you acquire the replace-
ment vehicle during tire
PAFiT A - LiABiLlTV COVERAGE
|NSURING AGREEMENT icrti'r|s coverage has been exhausted We have
A. We will pay damages for bodily injury or nDdl-\tytodeiend anysurtorsettle anycialm for

bodily injurycr property damage not covered
under title polloy.

"lnsured'* as used ln this Part means:

1. You orany family member for the owner-
sh|p, maintenance or use cf any auto or
trailer.

tim

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2. Any person using your covered auto with

lmenes'r on .rucenema§y§:

We will pay lnterest onludgments subject _ _
loi|owing:

1.

your express or implied permission The
actual use must be within the scope cl that
permission

For your covered euto, any person cr
organization but only with respect to legal
responsibility for acts or omissions of a
person for whom coverage is afforded
under B.‘l. and B.2. above.

For any auto or lrailer, other than your
covered auto, any other person orcrgani-
zatlon but only with respect to legal
responsibility for acts cr omissions cf you
_ __fcrwhom coverage
’ ~"" _= This provision

 
 
   

(B. 4.) applies
zatlon does n-"£‘-F
trelier. "`;__g,

 
 
 
  

Any notice, demand, summcn- _
cr any process has been =
forwarded to us as required by
conditions.

We accept the defense or agree to the
judgment

We will pay the interest on that part of the
ludgmentthat ls covered and that does not
exceed our applicable limit of |labiiity.

Wewi ll pay interest that accrues after entry
oiludgment and before we pay, tender. or
deposit in cou rt.

if we appeal the judgment we will pay
interest on the entire judgment

Post-]udgment Intereet le in addition to the
applicable limit cl |iabiilty.

Where we are required to cover prejudg-
mentlnterest, itshal| beinc|uded lnthe limit
ct lld)ility and le not an additional amount
of ineuranoe.

SUPPLEMENTAF{Y F'AYMENTS

11

SA-TBEZITXEP 12[08

We will pay on behalf of an lnsured:

Up to $250 for the cost of bail bonds
required because of an accident including
related traffic law violations The accident
must result in bodily in|ury or property
damageoovered underthispolicy. We are
not obligated to apply for cr lumish such
bonds.

Premlurns on appeal bonds and bonds to
release attachments in any suitwe delend.

Up to $100 a claytor loss cl earnings, but
not other lncome, because cf attendance
at hearings or trials at our request

4.

Otherreasonabie expenses incurred at our
request

EXCLL|S|ONS
A. We do not provide Liabiiity Coverage ior:

1.

2.

3'

  
  
 
 

......3_.

Any insured who Inoentlcnaily causes
bodily injury or property darnage.
Property damage to property owned or
being transported by any insured.

Property damage to property:

a. rented to;

b. used by; or

c. in the care of;

any insured.

This exclusion (A.S.) mae not apply to
property damageto aresidence cr private
garage.

Bodliy ln]l.lry to an employee cl any
insured during the courseolemployment.
This exclusion (A.4.) does not apply to
bodily injury to a domestic employee
unlessworkers' compensation benetitsare

required cr available for that domestic
empioyee.

___ Any lnsured’s liability arising out of the

=,-wnership or operation of avehlcle while

__f is being used as apubllcorilvery convey-
' ance. Thrs exclusion (A.B.) does not apply

to a share-the-expense car pool.

Any insured using any vehicle while
employed ln the delivery of newspapers or
magazinee, food or any products for the
€=.'+- '-.ensation This exclusion
. __'r- deliverythatls lncidental
z-.__ sbuslness.
`=ured while employed or
otherw se engaged in the business
of:

(1) seliing;
(2) repairing;
(3) servicing;
(4) storing;or
l5) Paridne;

vehicles designed lor use mainly on
public highways This includes road
testing and delivery.

b. This exclusion (A.?.) does not apply
totheownershlp, maintenance cr use
of your covered auto by:

(1) you;
(2) any family member; or

(3) any partner, agent or employee
of you or any family member.

  
 
 

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all

10.

11.

12.

13.

8A'1852FI’XEP12106

Any insured maintaining or using any
vehicle while that insured is employed cr
otherwise sngagedin any business(othsr
then farming or rsnchlng) not described In
Exoluslona A.6. or A.?. This exclusion
(A.B.) does not apply to the maintenance
cr use cf a:

e. private passenger auto;
b. pici<up. motorhorne orvan that:
(1) you cwn; or

(2) you do not`own while used ss a
temporary substitute for your
covered auto which is out cf
normal use because of |ts:

(a) breakdown;
(b) remain

(o) eervioing;
(d) ioss;or

(e) desu'ucticn;or

c. trailer used with avehicie described
in A.B.a. or A.B.b. above.

Any lnsured using a vehicle without the
express orimpiiedpennission oithe owner
or other person having lawful possessicn,
or using avehlcie beyond the scope of the
permission granted. |-iowever, this
exclusion does not apply to a family
member using your covered auto.

a. Bodiiylnhrrycrproperiydemagefor
which any lnsured:

(1) is an insured under a nuclear
energy liability pciioy; or

(2) would be an insured under a
nuclear energy liability policy but
for its termination upon exhaus-
tion of lie limit cl |labiiity.

b. A nuclear energy liability policy is a
policy issued by any of tire following
or their successors:

(1) Nuciear Energy Llablilty insur-
ance Associat|on;

(2) Mutual Atcmlc Energy Llabillty
Underwriters; cr

(3) Nuciear insurance Assooiation
of Ganada.

Punitive orexempiarydemages awarded
against any insured.

Bodilyinlurytc you orany family member
excepttcthe extent of the minimum limits
cl Liabiilty Ooverege required by the Texas
Motor Vehiole Safety Responsibllity Act.

Bodiiyln|urycrproperty damage arising
out of the use of your covered auto while
leased or rented to others. However. this

14.

exclusion does not apply to the operation
of your covered auto by you or a family
member.

For property damage due to or as a
consequence of a seizure cf any vehicle
by federal orstate law enicrcernentoflicers
as evidence |n a case against any insured
undertheTexas Ocntroiied SubetanoesAct
ortho federal Oontroiled Substances Act
li you are convicted in such a case.

B. We do not provide t.iabllity Ocverage for the
cwnership, maintenance or use of:

1.

2.

4.

_..4_

a. Any vehicle which:
(1) has fewer than four whee|s;

(2) is designed mainly for use oi'i
public rcads; cr

(3) is avehicie not licensed for use
on public roads.

b. This exclusion does not appiy:

(1) while such vehicle is being used
by an insured in a medical
emergenoy;or

(2) to any trailer.

Anyvehloie, otherthanyourcovered auto,
which is:

a. owned by you; or

b. fumishsdoravailabieiorycurreguiar
use.

a. Anyvehicle, otherthan your covered
auto, which is:

(1) owned by any family member
orother person who resides with
you; cr

(2) furnished or available for the
regular use of any family
member or other person who
resides with you.

b. However, this exclusion (B.S.) does
not apply to you while you are
maintaining oroocupylng any vehicle
which is:

(1) owned by a family member or
other person who resides with
you; or

(2) furnished or available for the
regular use of atemiiy member
orctherperson who reeldeswith
ycu.

Any vehicle while it is:

a. operating on a surface designed or
used for recing, except for an
organized and controlled eventthatls
not a speed. periormance, stunt or
demolition event;

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b. participating in a high performance
driving or reel ng instruction course or
schccl;or

o. preparing ior, practicing forl used ln.
or competing in any prearranged or
crganized:

(1) race activity; or

(2) speed. perionnance, stunt. or
demolition contest or exhibition

Llllill'l" OF LlABlLlTY

A. ll the Declaratlons indicates “per person"l“per
acoident" coverage eppiie:

“i* ~=,_the Deciaratlcns

niury uauliryls our

      

 
 

(inclucilng loss cl cl:rnjs rtium and wrongful
death), an'slngcut of bodily injury sustained by
any one person in any one auto aco'l-__=-“n

Sublect tc this limit for “each perso =;`ii
of liability shown in the Deciaratlon -.lz,l_-

'~c

acoiderlt" for Bodily ln}ttiy Liability is .-'

mum limit or liability for all damages roi‘
injury resulting from any one auto accident

The limit of ilabi|ityahown in the Deo|aratlons for
each accidenticr Property Demage Liablllty is
our maximum limit of liability for all property
damage resulting irorn any one accident

This is the most we will pay regardless of the
number of:

‘l. lnsureds;
2. Gla|n'ts made;

3. Vehicles or premiums shown in the
Declarations; or

4. Vehlcies involved in the auto accident

B. it the Declaratlons indicate Comb|ned Single
L|mit applies, Paragraph A. above is replaced
by the foilowing:

The limit cf liability shown ln the Declaratlons for
thiscoverage is our maximum |imitcf|lablhtyfor
all damages resulting from any one auto
accident This ls the mostwe will pay regardless
of the number of:

  
   
  

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'i. lnsureds;
2. Clalms made;

3. Vehioles or premiums shown In the
Dec|aratlcns; or

4. Vshicies involved in the auto accident

We will apply the limit of liability to provide any
separate limits mqulred by lawlor bodliyln|ury
and property damage liability However. this
provision will notchange ourtotal limitof liabillty.

C. Nc one will be entitled to receive duplicate
payments for the same elements oiloss under
this coverage and Part B‘l or Part C of this
polioy.

OUT OF STATE COVERAGE

iran auto accident to which this policy applies occurs
in any state cr province other than the one in which
your covered auto ls principally gareged. we will
lmerpret your policy for that accident as follows:

A. litho state or province hss:

1. A financial responsibility or similar law
specifying limits of llabllltyforbodlly injury
or property damage higher than the limit
shown in the Deciaratlcns. your policy will
provide the higher specified llmit.

aj compulsory insurance or similar law re-
§§-sulnngancnreslclenttornalntelnlnuranoe
` whenever the nonresident uses avehicie
§§ in that state or provincs, your policy will
provide at least the required minimum
limits and types of ooverage.

B. No one will be emitied to duplicate payments for
the same eis §§ ij loss.

r=rNANcrAL nEsP »“= eu.rrY

when this psircyrsee _ss capture precr animus
responsibility, this po ‘» shall comply with the lewis
the extent required

OTHEFl |NSURANCE

ifthere lsotherapplicsble |iabllltylnsurance available
any insurance we provide shall be excess over any
other applicable liability lnsurance. if more titan one
policy applies on an excess basis, we will bear our
proportionate share with other collectible liability
insurance.

        
 

   

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PAFlT B1 -- MED|CAL PAYMENTS COVERAGE

iNSUFIING AGREEMENT

A. We will pay usual and customary charges
incurred for reasonable and necessary medical
andfuneral expenses because of bodily ln}ury:

‘l. Oaused by acoldent; and
2. Susf:eined by an insured.

We will pay only those expenses incurred for
services rendered within three (3) yearsme the
date of the acoident.

We have a rightto review medical expenses and
servicesto determine ii they are reasonable and
necessary for the bodlly injury sustained

B. “lneured" as used in this Part means:
1. You or any family member:
a. while occupying; or

b. as e mdestrien, including bloycling,
when struck by;

a motorvehlcie designed for use mainly on
public roads or a tralter of any type.

2. Any other person while occupying your
covered sutowith your express orlmplled
permission The actual usc must bewlthin
the scope of that pennisslon.

3. Any other person while occu pylng, as a
guest. an automobile riot owned by you or
a family member, while being operated by
you or a family member.

C. “Usual and customary cherges” as used in
this Part mean:

Any amount which we determine represents a
customary chargeforeervlceslnthe geographic
area in which the service is rendered Tc
determine whether a charge is customary, we
may consider outside sources cf information of
our choice, lnciuding, but not limited to:

1. Licensed, certified cr registered health care
professionals;

2. ivledlcal examinations;

3. Medical file reviews;

4. Medloal bill review services; or
5. Oomputerized data bases.

The insured shall not be responsible for
payment cl any reduction applied by us. lt a
medical provider disputes an amount paid by us.
we will be responsible for resolving such

dieputse.
EXCLUSlONS

We do not provide Medloai Payments Coverage for
any insured for bodily lrtiury:

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4.

Suetalned while occupying any motorized
vehicle having fewer than four wheels.

Sustalnsd while occupying yourcovered
auto when lt is being used as a public or
livery conveyance This exclusion(2.) does
not apply to eehere-the-expeneecerpool.

Sustalned while occupying any vehicle
while employed in the delivery of
newspapers or magazines. food or any
products lorthe purpose ofcompensaiion.
This exclusion does not apply to delivery
that|slncldentaltoanlnsured’ebuslnees.

Susteined while occupying any vehicle
located foruse as aresldence orpremises.

Occurring during theoourseof employment
il workers‘ compensation benefits are
required or available forthe bodily ln|ury.

Suatainedwhiie oooupying,orwhenstruok
by. any vehicle (other than your covered
euto) which fs:

e. owned by your or

b. furnishedoravailableforycurregular
use.

Sttetained while bci.'>t.lpyittgl orwhen struck
by. any vehicle (other than your covered
auto) which ls

e. owned by any family member or
otherperson who resideswlih you; or

b. furnished or available for the regular
use of any family member or other
person who resides with you.

chever, this exclusion('l.} does not apply
to you.

Sustrelned while occupying a vehicle
without the express orlmplled permission
cfthe owner or other person having lawlul
possession. or using a vehicle beyond the
scope ofthe permission granted However
this exclusion does not apply to elamlly
member using your covered auto.

Sustainedwh|le oocupylngavehlciewhen
it ls being used in the business of an
insured. This exciuslon(g.) does not apply
to bodily injury sustainedwhlle occupying
a:

a. private passenger auto;

b. plckup, van or motorhome that you
own; or

c. trailer used with a vehicle described
in e. or b. above.

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10. Caused by cr as a consequence of:

a. discharge cf a nuclear weapon (even
if accidenta|);

war (dec|ared or undeclared);
civil war;

Insurrection; or

e. rebellion or revolution.

11. From ores aconsequence ot the iollowing,
whether controlled or uncontrolled or
however caused:

esa

12. Sustalned 7

B.

demolition event;

b. pmcipat|ng in a high perlormance
driving cr reel ng instruction course or
schco|;or

c. preparing tor. practicing ior, used |n.
or competing in any prearranged or
organized:

(1) race activtty; cr

(2) speed, performance stunt, or
demolition contest or exhibition

L|MIT OF LlABlLiTY

A. The iimitofllebliityshown lnthe Declaretlone for
this coverage ls ourrnaximum limitoi liability for

 

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each person injured in any one accident. This
lathe mostwewil| pay regardless ofths number
cf:

1. insureds;
2. Gleims made;

3. Vehioles or premiums shown in the
Declaratlons;or

4. Vehicles involved in the accident.

B. No one will be entitled to receive duplicate
payments for the same elements of loss under
this coverage and Part Aor Part C oi this policy.

OTHER |NSURANCE

|f there is other applicable auto medical payments
insurance available any insurance we provide shall
be excess over any other applicable auto medical
payments lnsurance. li more than one policy applies
on an excess bas|s, we will bear our proportionate
share with other collectible auto medical payments
Insurence.

ASSIGNMENT OF PAYMENTS

1. An insured may assign. in writing.
payments ci medical expenses torservices
provided to the insured that are covered

-_ nder Part B1 of this policy to a physician

  

§ 2. lt we received an insursd’s written
' " assignment of such payme nts. we will pay
the medical expenses covered under Part

51 directlyto the physician or other health

{, c_\=t lumiched the services

 
 

 

PAR`I' 32 - PERSONAL lNJUFlY PROTECT|ON COVEFIAGE

 

DEFINIT|ONS

A. "Family member” as used in this Part means
apereon relatedtothe named insured byblcod,
marriage, civil unlon. domestic partnership or
adoption who le a resident ot the named
insurcd’s household. This includes a ward or
foster chlld.

iithe spouse oi' the named insured ceases tc
be a resident of the same household during the
policy periodl the spouse will be considered a
family member under this coverage during a
periodof separation in contemplation of divorce
and only untilthe effective date cl anotherpoilcy
listing the spouse as a named insured.

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B. “Your covered auto". as used in this Part
means a motor vehicle owned by the named
lnsured:

1. Towhlchmeborlilyin}ury|iabilitycoverage
of this policy applies and for which a
specific premium is charged; and

2. Fcr which the named insured is required
by the Texas Motor Vehlcle Satety
Fiespcnslblllty Act to maintain financial
responsibility

C. "lli|otor vehicie" means e:

1. Self-propelled vehicie designed tcr use on
a h|ghway;

D.

F.

2. A trailer or sami-trailer designed for use
with a self-propelled vehicie; or

3. Vehlcle propelled by electric power
obtained front overhead wires, but not
operated on raiis.

However. motor vehicle does not inoiude:
a. tr'action engines;
road rollers or graders;
sector cranes;
ci. power shovels;
e. well drillers; or
i. implements of husbandry.

“Nsmed lnsured" means the person named in
the Deo|aratione.

“lnsured" as used |n this coverage means'.

‘l. The named insured or any family
member:

a. While occupying; or
b. Whan struck by;
a motor vehicle.

2. Any other person while occupying
yourcovered auiowith your express
or implied permission The actual use
must be within the scope of that

permission

“Usua| and customary charges” as used in
this Part means:

Any amount which we determine represents a
customary chargeorservlces lnthegecgraphlc
area in which the service is rendered To
determine whether a charge is customary, we
may consider outside sources of information ct
our choice, lncluding. but not limited to:

'i. l.ioensed,cettiiledcrregisteredhealthcare
proie%ionais;

Medioal examinations;
Medical tile reviews;

Medical bill review services; or
5. Computerized data bases

The lnsured shall not be responsible for
payment of any reduction applied by us. ii a
medical providercllsputee an amount paid by us,
we will be responsible for resolving such
disputes.

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|NSURING AGF|EEMENT

A.

SA-1 BSWT)EP 1 2106

Wl will pay, in accordance with the Texas
insurance Gode, personal injury protection
benetits to an insured who sustains bodily
ln]ury. The bodily injury must:

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1. Flesult ircm an accident with a motor
vehicle; and

2. Arise out of the ownership, maintenance
or use of a motor vehicle as a vehicle.

We have a rightto review medical expenses and
senrloee to determine iithey are reasonable and
necessary ior the bodily lniury sustained.

Subject to the limits shown in the Deciaratlcns,
personal injury protection benefits consist ofthe
ioiiowing:

1. Msdloel And i'-'unerel Expenees:

Payment for usual and customary
charges incurred for all reasonable
expenses incurred within 3 years from the
date of the accident for necessary:

a. medicai. surgical. X-ray and dental
services,includingprostheticdevices;

b. ambulance, hospital. professional
nursing and funeral services; and

o. services for remedial treatment and
care rendered in accordance with a
recognized religious heating method.

2. Loss Oi lnoome:

a. 80% of an |nsured’e loss oflncome
from employment providedthet, attire
time of the acciderrt, the insured:

(1) was an income produoer; end
(2) was in an occupational status.

'ihese benefits do not apply to any
loss alter the insured dies.

b. Loss of income is the difference
between:

(1) income which would have been
earned hadthe insured notbeen
lniured; and

(2) the amount of income actuain
received from employment
during the disebillty.

c. if the income being earned as cl the
date oithe accidentis a salaryoriixed
remuneraticn, it shell be used in
determining the amount of income
which would have been eerned.
Otherwise. the average monthly
income earned during the perlod. not
to exceed 12 months, before the date
of the accident. shall be used.

3. Replacerneni Services:

Reasonabie expenses incurred for
obtaining services that replace those an
insured would normally have performed:

a. without pay;

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b. during a period of dlsability; and

c. for the care and maintenance of the
family or householdl

These benefits apply only if. attire time cf
the acoident, the insured:

a. was not an income producer; and
b. was not in an occupational status.

These benefits do not apply to any loss

after the insured dies.
|f a lapse occurs:
1. in the period of total dissbility; or
2. in the medical rii~wi§§;

ofan insured who 5‘5- - received medical and
`“:;jts . §erB.Lor loss of
income benefits un =_'r :"t~, above. and that
insured subsequentiycisims additional benefits
based upon a recurrence cl the bcdll

ror which the original claim for ben

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benefits payable to any insured excee the
maximum limit for the total of ali personal injury
protection benefits shown in the Deolarations.

EXCLUS!ONS

A. We do not provide Persorrai injury Protection
Ooverage for any insured for bodily injury
eustained:

1. in an accident caused intentionally bytirat
tnsured.

2. By that insured while in the commission
of s felony.

3. By that insured while attempting to elude
arrest by a law enforcement officia|.

B. We do not provide Personai injury Protectlon
Ooverage for bodily injury sustained by:

‘i. The named insured or any family
ntsrnberas a resu|toi the use oroperation
of any motor vehicie, other than your
covered autol owned by the named
|nsured.

2. Arry family member as a result of the use
or operation of any motor vehicle which
le owned by that family member and for
which the iinancia| responsibility required
by the Texas Motor Vehlcie Safery
Fiesporrsibii‘rty Aot is not in affect.

C. We do not provide Personai injury Protectlcn
Ocverage for bodily injury:

1. i.'.iue to:
s. War {deciared or undeciared);

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b. Olvi| war;
c. Insurrection;
Flebeliion or revolution; or

Arry act or condition incident to any oi
the ioregoing.

2. Reeulting from the:
a. Fiadicaotlve:
b. Toxlo;
c. Expiosive; or

other hazardous properties oi nuclear
material

Lll\l'liT OF LlABlLiTY

A. The limit of liability shown in the Scheduie or
Deolarations for Personei injury Protection
Ooverage is our maximum limit of liability for
each insured injured in any one accident This
is the moatwewiii pay regardless of the number
cfc

1. insureds;
2. Claims made;

3. Ycur covered autos orpremiums shown
in the Deolarations; or

:"'\ our covered autos involved in tire

ne
Wilh respect to err accident to which this
coverage appliea, any amounts paid under Fart
Aofthispoiicytoan insured who lsapassengsr

in youroovered auto shall reduce any amount
thatpereon m__ be = titledtorecoverundertirls
coverage. ""

orr-len lueunnuc '

lithere is other Perso ¢`r`;` injury Proteolion insurance,
we wlil pay only our sara of the iose. Our share is
the proportion that our ilrnitof liability beareto the total
of ali applicable iirrrlts. chever, any insurance we
provide with respect to a vehicle you do not own.
including any vehicle while used as a temporary
substitute for your covered auto, shall be excess
over any other collectible Personai injury Protection
insurance.

LOSS PAYMENTS
Beneiits are pays.bie:

1 . Nc more irequentiythan every two waei<s;
and

2. Within 30 days after satisfactory proof of
claim ls reoelved.

ASSIGNMENT OF PAYMENTS

1. An insured may assign. in writing,
paymentscfmadiceiexpensesforservioes
provided retire insured that are covered
underthls ooveragetc ephysician orcthsr

   
  
 

   
 

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health care provider that furnished such
services tothe insured.

2. if we receive an lnsured’s written
assignment of such paymentsl we will pay

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the medical expenses covered under this
coverage directly to the physician or other
health care provider that furnished the
services to the insured.

 

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PART C --- UN|NSUREDIUNDERINSURED MOTORISTS COVERAGE

|NSUR[NG AGREEMENT
A. We will pay damages which an insured is legally

entitled to recover from the owner or operator
cl an uninsured motor vehicle because oi:

1. Bodllyin[ury sustained byan Insursd and
caused by en aocident; cr

2. Property damagecaused by an accident

The owner’s or operators liability for these
damages must arise out of the ownershlp.
maintenance cr use cf the uninsured motor
vshlcls.

Any judgment for damages arising out of suit
broughtwlthoutourwiittenconsentlsnctbinding
on us. ifwe and you do not agree as to whether
or not avehicle is actually unlnsured.the burden
of precise to that Issue shall he on us.

“lnsr.lred" as used in this Part means:
1. You or any family member.

2. Anyother person occupying your covered
auto with your express or implied
perrnlsslon. The actual use must bewlthln
the scope either permission

-3. Any person entitled to recover damages
because oi bodily injury to which this
coverage applies sustained by a person
described in B.1. cr B.2. above.

"Prcperty damage” ss used lnthls Part means
injury tc, cr destruction oi, or loss of use of:

‘l. Your covered euto, ncr including a
temporary subsiitute.

2. Any property owned by a person listed ln
1 . or2. oithe definition of an insured while
contained in your covered auto.

3. Any property owned by you cr any family
member while contained in any auto not
owned, but being operated. by you cr any
family member.

"Unlnsured motor vehicle" means a land
motor vehicle or trailer cl any type:

1. To which no liability bond or policy applies
at the time of the accident

2. To which a liability bond cr policy applies
et the time of the accident but its limit or
liability elther:

.....10._

a. ls not enough to pay the full amount
the insured is legally entitled to
recover as damages; or

b. Has been reduced by payments to
others to an amount which is not
enough to pay the full amount the
insured ls legally entitled to recover
ss damages.

3. Which is a hit-and-run vehicle whose
operatororowneroannotbeldentlf|edand
which hits:

e. you or any iami|y member;

b. a vehicle which you or any iamin
member are occupying; or

c. your covered auto.

4. To which a liability bond cr policy applies
etthe time of the accident, butthe bonding
or insuring company:

a. denies ooverege; or
b. ls or becomes insolvent

chever, “uninsured motorvehlcle’l does not
include any vehicle or equipment

1. Owned by or furnished or available for the
regular use of you cr any family member.

2. Owned orcpsretsd by aseli»lnsurer under
any applicable motor vehicle law, except
s self-insurer which ls or becomes
lnsolvent.

3. Owned by any govemmentsl unit cr
egency.
4. Operated on ralls or crawler treads.

5. Designed mainly for use cit public roads
while not on public roads.

6. Whiie located for use as a residence cr
premises

EXCLUS|ONS
A. Ws dc not provide UninsursdlUnderinsured

Motoiistchverege iorbodlly lniurysustained:

1. By an lnsured while occupying, orwhen
struck by. any motorvehlcle owned bythet
insured which ls not insured for this
coverage under this policy. This includes
atralierof any type used with that vehicie.

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B.

C.

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2. By any tamin member while occupying,
or when struck by, any motor vehicle you
own which is insured for this coverage on
a primary basis under any other polloy.

Ws do not provide UnlnsurediUndsrinsured
Motorlsts Coverage ior bodily ln|ury or
property damage sustained by any lnsurod:

1. Resulting trom the intentional acts of the
insured.

2. li that insured orthe legal representative
settles the bodily injury or property
damage claim without our consent

3. Whliecocupyingyourcoverodautowhen
it is being us=»»‘ :-~ public or livery
conveyance. T __ xcl n(B..3 )cicesnot
apply to s sh 'L§ he-exp_ense car pool

4. While using any " j » =`:iuhiieempioyed in
the delivery of new' -'apsrs or magazines,
food or any products for the purpose of
compensation This exclusion §
apply to delivery that is lnoid §

lnsursd’s business.

   
 
 

  
 

orlmpiied permission oithe owner 31 er
person having lawful possession or using
a vehicle beyond the scope of the
permission granted. However, this
exclusion does not apply to you or any
familymemberusing your covered auto.

B. While occupying or operating an owned
motorcycle or moped.

7. While using any vehicle while lt Is:

a. operating on a surface designed or
used for racing except ior an
organized andcontrciledeventthatls
not a speed, perfom\anoe, stunt or
demolition event;

b. participating in a high perion'nance
driving or racing instruction course or
school; cr

o. preparing ior, practicing ior, used in,
or competing in any prearranged or
organized:

(1) race activity; or

(2) speed. periorrnanoe, stum, or
demolition contest or exhibition

8. Fortheiirst$£EO of the amount cl property
damageto the property cl that insured ss
the result ci any one accident

This coverage shall not apply directly or
indirectly to benefit:

1. Any insurer orseif~insurer undorany oi the
following or similar iaw:

a. Woriters’ compensation law;or
b. Disabi|lty benefits law.

2. Any insurer of prcperty.

D. We dc not provide Unlnsuredenderlnsured
Motorists Ooverage for punitive or exemplary
damages.

LiMlT OF L|AB|LITY

A. The limith |isbiiityshowninthe Declarationo for
"eaoh person" for Unlnsursd!Underinsured
Motoriets coverage ls our maximum limit of
liability for all damages, including damages ior
care and loss of services (inoluding loss of
consortium and wrongful death), arising out of
bodily injury sustained by any one person |n
any one auto accident

Sub|eot to this limit for "each perscn", the limit
oi liability shown ln the Deoiarstions for “each
accident‘ior Uninsured!Underlnsurod Motorists
Goversge is our maximum limit of liability for all
damages for bodily injury resulting from any
one auto accident

'l’he limit oi Property Damege Lisbiilty shown in
the Declarat|ons for "eaoh acoidsnt” ior
Un|nsurediUndsrinsured Motorists Goverage is
our maximum limit of liability for eli property
damage resulting ircm any one acoidant.

This is the most we will pay regardless of the
number of

  

3. Bonds or policies applicable;

4. Vehicles or premiums shown in the
Declarations;or

5. Vehioies_nvo in the accident

- dicate Oomblrted Slngle
L.lmlt Ooverage ,_ -iies, paragraph (A .) above
is replaced by t ioliowlng:
The limltof liabilityshownin the Deciarationsfor
Unlnsured/Undennsuled Motorists Oeverage is
our maximum limit of liability for ali damages
resulting from any one auto accident This ls the
most we will pay regardless ot the number oi:

1. lnsureds;
2. Claims made;
3. Bonds or policies applicabls;

4. Vehlcles or premiums shown in the
Declaratlons; or

5. Vehicles involved in the auto accident

We will apply the limit of liability to provide any
separate limits required by law ior bodily injury and
property damage llablllty. However. this provision
will not change our total limit of |isbl|ity.

C. Subjeotto Paragraph A. or B.ourllmltof liability
will be the lesser oi:

1. The difference between the amount ci an
lnsured’s damages for bodily ln[ury or

 
  
  

 

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property damage and the amount paid cr
payable to that insured for such damages
by or on behalin persons crorganlzations
who may be legally responsible; and

2. The applicable limit oi liability for this
coverege.

No one will be entitled to receive duplicate
payments lorthe same elements cf loss under
this coverage and:

‘l. Part A, Part B1 or Part D of this pciioy; or
2. Personei injury Protect:lon Goverage.

Wewi|inotmakeaduplicetepaymentunderthls
coverage for any element of loss for which
payment has bean made by or on behalf of
persons or organizations who may be legally
responsible

We will not pay for any element of lose ii a
person is entitled to receive payment for tire
same elemenioi loss under any of the following
or similar law:

1. Worlters‘ compensation law; or

2. Disabillty benefits or occupational disease
laws.

With respect to coverage under Paragraph 2.
of the definition ct uninsured motor vehicle,
wewill mduoe the insured’s total damages by
anyarnountavailsbie to that insured, under any
bodily injury liability bonds or policies applicable
to the uninsured motor vehicle, that such
insured did not recover as a result of a
settlementbetween that insured andthe insurer
cf an uninsured motor vehicte. l-icwever, any
reduction oithe lnsured’stotal damageswi|l not
reduce the limit ct liability for this coverage

This Paregraph (Gl.) shall not apply ii we
advance payment to the insured in the amount
equal to the tentative settlement with the insurer
ct the uninsured motor vehicte.

OTHER |NSURANCE

lithere ls other applicable insurance available under
one or more policies or provisions ot coverage that
ls similar to tire insurance provided under this Part
of the policy:

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1. Any insurance we provide with respect to
a vehicle you do not own. including any
vehicle while used as a temporary
substitute for ycuroovered auto, shell be
excess over any collectible insurance

2. lt the coverage under this policy is
provided:

e. on a primary basis, we will pay only
ourshere cline loss that must be paid
under insurance providing coverage
on a primary basls. Our share is the

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proportion that our limit oi liability
bears to the total of all applicable
ilmltsoiiiabllltyiorcoverage provided
on a primary basis.

b. on en excess basls. we will pay only
ourshare ofthe loss that mustbe paid
under insurance providing coverage
on an excess basls. Our share is the
proportion that our limit of liability
bears to the total of all applicable
limits ofllabliltyl‘orooverege provided
on en excess basls.

ARB|TFIAT|ON

il we and an insured do not agree:

1. Whether that insured is legally entitled to
recover demages; cr

2. As tc the amount of damages which are
mcoverabie by that lnsursd;

from the owner or operator oi an uninsured
motor vehicle then the matter may be
erbitrated. l-icwever, disputes concerning
coverage underthls Part may not be erbltrated.

Bcth parties must agree to arbitraiicn. il so
agreed. each party will select en arbitratcr. ‘l'lte
two arbitrators will select a third li they cannot
agree within 30 days. either may request that
selection be made by a]udge ot a court having
jurisdiction

Each party wi|l:
1. Pay the expenses lt incurs; end

2. Bear the expenses of the third arbitrator
equaiiy.

Unlesa both parties agree otherwise, arbitration

wllltake piece ln thecounty in which the insured

ilves. Lccai rules ot law as to procedure and

evidence will epp|y. A decision agreed to by two

cf the arbitrators will be binding as to:

1. Whether the insured is legally emitted to
recover damages; end

2. The amountol’ damages This applies only
ll the amount does not exceed the
minimum limit for bodily injury liability
specilied bythe financial responsibility law
ofthe state in which your covered auto is
principally garaged. lithe amount exceeds
that limlt, either party may demandthe right
to s trial. This demand mustbe made within
60 days of the ethiiretors' decision it this
demand is not made, the amount of
damages agreed to by the arbitrators will
be binding.

However, at any time before the srbltrators'
decieicn, either party may revoke the agreement
to arbitrate the matter.

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ADDITIONAL DUTIES

A person seeking Unlnsured Motorists Coversge
under Paragraph 2. cl the delln|tion of uninsured
motor vehicle must also promptly:

1. Sencl us copies ofthe legal papers ll asuit
le brought; and

2. thiiy us inwrltl ng ol atentative settlement
between the lnsured and the|nsurercithe

uninsured rnctorvehicie and allow us 30
days to advance payment to that insured
in an amount equal to the tentative
settlement to preserve our rights against
the insurer, owner or operator of such
uninsured motor veh|oie..

 

PAR`I' D -- COVEFIAGE FOR DAMAGE TO YOUR AUTO

  

-owned auto,

use in your covered auto or non-owned autc,
minus any applicable deductible show______ __the

 
  

Deo|arations. We will pay for lc= __ ~ »- r

covered auto caused by: .- _(:‘ ":`
3'.\’

1. Other than collision only iith `-*'tg = i

lions indicate that Gomprehenev`e'§,@ov~
eraga is provided for that auto

2. Coillsicn only ii the Deo|aratlons indicate
that Goillsicn Coverage is provided torthat
aLIiO.

Deductlble

Unless stated otherwise, the applicable
deductible shown in the Deciarations shall be
applied to each accidental lose covered under
this Part cl' the policy. ii loss to more than one
of your covered autos cr a non-owned auto
results from the same ioss, only the highest
applicable deductible will apply.

il there is a loss to a non-owned euto, we will
provide the broadest coverage applicable to any
vehicle shown in the Declarations.

B. “Colllslon" means the upset ot your covered

auto or a non-owned auto or its impact with o

another vehicle or oblact. No deductible will
apply ifihe cci|iaioniswithanotherautoinsured
by a Safeco insurance company

"Comprehansive” means ioss, otherthanccili-
elon, to your covered auto or a non-owned
auto. Losses caused by the following are not

ita way seann c.

 

if breakage of glass is caused by a collision,
you may elect tc have it considered a loss
caused by collision.

1. “Non-owned auto” means:

a. Any private passenger attto, piokup,
van or trailer with a Gross Vehlcle
Welght Fiatlng cf 12,000 pounds cr
less not owned by or furnished or
available iorihe regular use ofyou cr
any family member while |n the
custody of or being operated by you
or any family membsr; or

Any auto or trailer you cio not own
while used as a temporary substitute
icr your covered auto which is cut
of normal use because of its:

  
   

(5) motion

2. “Non-owned autc" does not lnciude any
vehicle which has been operated crrented
by or in the possession of an insured for
30 cr more consecutive days.

"Carnper bcdy” means a body equipped as
sleeping or living quarters which le designed to
be mounted on a pickup.

"Diminutlon in value" means the actual or
perceived loss ln market or resale value which
results ircm a direct and accidental iose.

collislcnlosses but aracomprehensive losses: THANSPORTATiON EXPENSES

Loss caused by missiles or failing cbiects; i|re; A.

theft or larceny; explosion cr earthquaka;
wlndstorm; hall, water or ilccd; malicious
mischief or vandalism; riot or civil commotion;
contact with a bird or anima|; or breakage of
glass.

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in addition we will pay, without application of a
deductibie. either cfthe foilowing, whichever is
greater:

1. Up to $25 per dayl to a maximum ot $750;
cr

2. The limit for Loss of Uae, if any, shown in
the Decierations.

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B. For:

1. Tampcrary transportation expenses in-
curred by you ln the event of the total theft
cfyou roovered auto. We will pay forsuch
expenses only lt the Deciaratlcns indicate
that Oomprenenslve Ccverage is provided
for that auto.

2. Indlrect loss expenses for which you be-
come legally responsible in the event or a
loss to alton-owned auto. We will pay for
indirect lose expenses iithe loss ls caused
by:

a. a comprehensive loss only if the
Deolsrationslncicatethatocmprehen-
alva Coverage is provided for any
your covered auto.

b. collision only if tire Deciarations
indicate that Golllslon Ooverage is
provided for any your covered auto.

C. lt the loss is caused by a total theft of your
covered auto ore non-owned auto, wewiil pay
only expenses incurred during the period:

‘l. Beginnlng 48 hours after the theft; and

2. Encling when your covered auto or the
non-owned auto ls returned to use cr we
pay for its loss.

D. litho loss ls caused by other than a total thett
cia non-owned auto,wewlil pay onlyexpenses
beginning when the auto is withdrawn from use
for marathon 24 houre.

E. Our paymentwil| be limited tothat period oftima
reasonably required to repair cr replace your
covered auto ortho non-owned auto.

EXCLUSIONS
We will not pay fort

'i. Loss to your covered auto cr any
non-owned auto which occurs while il is
being used as a public or livery convey-
ance. This exclusion (1.) does not apply to
a share-the-expense car pool.

2. Loss to your covered auto or any
non-owned auto while employed ln the
deliveryoi newspapers or magazines. food
or any products for the purpose ct
compensation. This exclusion does not
apply to delivery that is incidental to an
lnsured's business

3. Dernage or loss due and confined to:
a. wear and tear;

b. freezing;
o. mechanical or electrical breakdown
or fallure; cr

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d. road damage to tlres.

This exclusion (3.) does not apply lt the
damage results from the total theft of your
covered auto or any non-owned auto.

Damage or loss arising cut of neglect
Negleot means your failure to adequately
maintain your covered auto or
non-owned auto alter the ioss.

With respect to water under Comprehen-
eive Ooverage, there is no coverage icr:

a. molsture, oondensatlcn, humidityl or
vapcr;

b. water intrusion around or through
panels. surfaces and aeais: or

c. water that collects in spaces or
ventilation systems; or

d. tungl, dry rot or bacteria;
resulting from neglect
Loss due to ores aconsequenoe of:

a. discharge of any nuclear weapon
(even lt accidentei);

h. war (dec|ared or undeclared);
civil war;

d. insurrectlcn; or

e. rebellion cr revo|utlcn.

Loss from or as a consequence of the
following. whether controlled or uncon-
trolled or however caused:

a. nuclear reacticn;

b. radiaticn; cr

c. radioactive contamination
Loss to:

a. anyelectrcnioequipmentdeslgnedfor
the production cr reproduction of
sound, pictures, audlo, visual or data
cr that receives or transmits sound,
pictures or data signals.

b. This exclusion (7.) does not apply to:

(1) equipment designed for the
reproduction of sound or
transmission of eound, pictures,
audio, visual ordata signals and
accessories used with such
equipmentl provided:

(a} the electronic equipment le
pennanenllylnstslledbythe
original vehicle manufac-
turer or manufacturers
dealershlpin your covered
auto or any non-owned
auto;or

ll|l||||l|||l|l|il||lli|ll|ii|il||liil|ll|lll||ili|il

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(h) theeleotronlo equipment is:

l. removable from a
housing unit which is
permanently installed
by the original vehicle
manufacturer or
manufacturer’ s
dealership|nthe auto;

li. designed to be solely
operated by use cf the
power from the auto's
electrical system;and

ili. _ in or upon your cov-
~"-'= = =: __ auto or any
no ~cwrred autc;

or ross

~ ' 'K'wr`i| pay only upto
$1 000 ortho actual cash value
of your covered au _

non-owned auto,w
leas, for such equip '

    
  
 

  

faotr.rrer' a dealership.

(2) any other electronic equipment
that is:

(a} necessary for the normal
operation of the auto or the
monitoring cf the autc's
operating systems;

(b) anintegra|partofthesame
unit housing any electronic
equipmentdescr`rbedln?.e.
and permanently installed
by the original vehicle
manufacturer or manufac-
turers dealership In your
covered auto or any
non-owned auto.

Loss to:

a. tapes, records, dlsos. orcther media
used with such equipment described
in exclusion (7.); cr

b. any other accessories. not penna-
nerrtiy installed used with such
equipmentdesoribadinexciusion(?.).

Loss to your covered auto cr any
non-owned auto due to destruction cr
confiscation by governmental or civil
authorities because you or any family
member:

a. engaged in illegal activities; or

b. failed to comply with Envlronmenta|
Proteoticn Agenoy or Department of
Transportetion standards.

10.

11.

12.

13.

 

14.

15.

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This exclusion (9.) does not apply to the
interests cf Loss Payees in yourcovered
autc.

Loss to a camper body, motcrhome or
trailer you own which is not shown in the
Deolarotlcns. Th|sexc|usion (10.) does not
apply to s camper body, motorhorne or
uai|er you:

a. acquire during the policy period; and

b. ask us to insure within 30 days after
you become the owner.

Loss to any non-owned auto when used
by you or any family member without the
express orirnpiied permission cline owner.
Loss to equipmentl whether operational or
not, whose design may be used for the
detection or location of law enforcement
equipment

Loss to any non-owned auio being
maintained or used by any person while
employed or otherwise engaged in the
business cfc

a. seillng;
repairing;
servici ng;
stol'lng; or
carlton

vehicles designed for use on public
highways. This includes road testing and
dellvery..___ .

  
   
    

  

employed i: otherwise engaged in any
business - "describedinexcluetonz. end
13. This exclusion {14.) does not apply to
the maintenance or use by you or any
lamiiy member ci a non-owned auto
which isaprivate passengerauto ortraller.

Loss to your covered auto or any
non-owned auto while it is:

a. operating on a surface designed or
used for racing. This does not apply
to an organized and controlled event
ihatis not aspeed. perfonnance. saint
or demolition event;

b. participating in a high performance
driving or racing instruction course or
schoci; or

c. preparing icr, practicing for, used in.
or competing in any prearranged or
organized:

(1) race aotivlty; or

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(2) speed, periormence, stum. or
demolition contest or exhibiticn.

16. Loss to, or loss of use ol, a non-owned
auto rented by:

a. you:or
b. any family member;

if a rental vehicle company is precluded
from recovering such loss or loss of use,
from you or that family member, pursuant
to the provisions of any applicable rental
agreement or state iaw.

17. Loss to your covered auto or any
non-owned auto, arising out cl the actuai,
alleged cr threatened presence, growth,
proliferation or spread of tungl, dry rotor
bacteria

18. Loss to your covered auto, non-owned
auto, cr trailer, for diminution in value.

19. Loss in excess cl $1.000 per claim or the
social cash value of your covered auto
crany non-owned euto, whicheveris lessl
for any furnishings or equipmentthat were
not installed by the original vehicle
menulacturerormanufacturer's dealership
which mechanicaiiyorstructuraiiychanges
your vehicle and results in increase in
performance or change in eppearartoe,
including but not limited to:

a. custom muraie. paintings or other
decais or grephics;

b. cr.rstomwheeis,tachometers,pressure
and temperature gauges;

o. modified or custom engines and fuel
systems, light bars, racing sticks
and/or cversized tires, roll bars and
lift ldts,winohes. utilityboxes, and tool
boxes; or

d. non-standard pains

This exclusion does not apply to equipment
installed to make a vehicle handicap
accessible.

20. l.css arising outoi the use of your covered
auto while leased or rented to others.

LiMl'l` OF L.iABiL|T¥
A. At our opticn, our limit of liability for loss will be
the lowest ol:
1. The actual cash value of the stolen or
damaged property;
2. a. The amount necessary to repair or
replace the property with property of
like kind and qua|ty;

b. Detenni nation of the cost or repair cr
replacement will be based upon one
of the foilowin|:

(1) the costof repair or replacement
agreed upon by you and us;

(2) a competitive bid approved by
us; or

(3) an estimate written based upon
the prevailing competitive price.
You agree with us that we may
include in the estimate paris
furnished by the original vehicle
manufactureror parts from other
sources including non-original
equipment manl.riaoturers. The
prevailing competitive price
means prices charged by a
majority of the repair market in
the area where the vehicle is to
be repaired asdetermined by us;
or

3. The limit cf liability shown in the Deciara-
ilons.

However, the most we will pay for loss to any
non-owned auto, which is a trailer, is $1,500.

B. An adjustment for depreciation and physical
condition may be made based upon the physical
condition and wear and tear cf the property cr
damaged part ofthe property at the time cl the
ioss. This adjustment for physical condition
includes butts not limited to, broken, cracked
or missing parte, rust, dents, scrapes, gauges
and paint condition. When replacing paris
normally sublecttorepaircrrepiacementduring
the usetui life oi‘ the vehicie, we will not pay for
the amount of any bettennent.

C. No one will be entitled to receive duplicate
payments for the same elements of loss under
this coverage and property damage covered
under Part Cof this policy.

PAYMENT OF LOSS

We may pay for loss in money or repair or replace
the damaged or stolen prcperty. We may, at our
expense, return any stolen property to:

1. You; or
2. The address shown in this policy.

ii we return stolen property we will pay for any
damage resulting from the theft. We may keep all cr
part of the properly at an agreed or appraised value.
if we pay for loss in money, our payment will include
the applicable sales tax ior the damaged or stolen
property.

lfyou andwe both agree,we wiilwaive the applicable
deductible shown in the Deciarations for close to
glass ll the glass is repaired ratherthan replaced

NO BENEFIT TO BA|LEE

This insurance shall not directly or indirectly benefit
any carrier or other bailee for hire.

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O1HEFI SOURCES OF RECOVERY

il other sources ct recovery also ooverthe loss, we
wil| pay only our share of the loss. Our share is the
proportion that our limit of liability bears to the total
of all applicable iimite. However, any insurance we
provide with respect to a non-owned auto shall be
excess over any other collectible so urce cl recovery
Includlng, but not limited to:

1. Any coverage provided by the ownerof the
hon-owned auto;

2. Any other applicable physical damage
insurance;

3. Any other source o ,_:,3 overy applicable to
the loss. list

",‘:-‘.1.‘2

   

      

APPRA|SAL

A. if we and you do not agree on the amount of
lcss, elthermaydemandanappraisaiofthe|oss.
in this event. each party will select a competent
and impartial appreiser. The two appraisers will
select an umpire. Tho appraisers will state
separatelythe actual cash value andthe amount
of ioss. ll they fsi ito agree, they will submit their
differences to the umpire. Adectsion agreed to
by any two will be blnciing. Each party wlli:

1. Pay its chosen appraiser; and

2. Bear the expenses ct the appraisal and
umpire equally.

B. We do not waive any of our rights under this
policy by agreeing to an eppralsal.

 

 

 
  

wAFn~nNe j _¢ ‘_-
seen THts ENDoaeEMENT cAeEr-' Lvt *"`\

Auto accidents in Mexioo are subject to the~ ~;.='oi
Mexloo only-NOT the laws of the United St ss of
the Amenoa. Uniike the Unlted States, the Republlo
oi Mexlco considers an auto accident a CRIM|NAL
OFFENSE as well as a civil matter.

|n some cases, the coverage under this endorsement
may NOT be recognized by Mexioan authorities and
the company may not be allowed to implement this
coverage at ali in Mexioo. You should consider
purchasing auto coverage from a licensed Mexicen
insurance Oompany before driving into Me)tico.

This endorsement does not appiyto trips into Mexico
thatemeed 25 miles from the boundary ci the United
Statee of America.

The coverages for your covered auto provided by
this policy are extended to accidents occurring ln
Mexloo within 25 miles cf the United States border.
The extension only applies for lnlrequent trips into
Mexico that do not exceed ten days at any one time.

“intrequent trips" means less than live (5) trips in
any calendar month.

Addlilonal Exoiusion
We do not provide any coverage:

1. ii your covered auto is not principally
.. araged and usedinthe Unltecl States; and

   

1. Otiter lnsurance. The insurance we
provide by the endorsementwill be excess
over any. -,l e :_:»- ileottble insurance

  

= oh ies notln Me)¢ioo. |fyour
covered auto must be repaired in Mexico
in orderto be driven, we will not pay more
than the actual cash value of such loss at

the nearest Unlted States point where the
repairs can be made.

 

PAHT E -- DUT|ES AFTER AN ACClDENT OR LOSS

We have no duty to provide coverage under this
policy unless there has been full compliance with the
following duties:

A. We must be notified promptly ci howl when and
where the accident or loss happened Notice
should also include the names and addresses
of any injured persons and of any witnesses

B. A person seeking any coverage muet:

‘l. Oooperate with us ln the investigation
settiement or defense of any claim or suit.

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2. Promptiy send us copies of any notices or
legal papers received in connection withths
accident or ioss.

3. Submit, ss often aswe reasoneblyrequlre:

a. to physical examinations by physi»
class we select We will pay torthese
exams.

b. to examination under oath and sub-
scribe the same. We may examine
any insured separately and apart

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from the presence of any other
Insured.

4. Authorize us tc obtaln: D.

a. medical reports; and
b. other pertinent records.

5. Submit a proof of loss, under oath il
required by us.

For Personei ln]ury Promotion cherege,
lfproofol' loss ls required, you mustsubmlt
lt to us nc later than six months after the
date of the accident

G. Aperson seeking Uninsured Motorists Coverege
must elso:

‘l. Fiepcrt the accident to the police or other
civil authority within twenty-tour (24) hours
or as soon as practicable ii a hit-and-run
driver is involved.

2. Promptiy send us copies cfthelegal papers
if s suit is brought

A person seeking Ccveregefor Damage to Your
Auto must also:

1. ‘i’alte reasonable steps after lose to protect
yourcovered auto or any non-owned auto
end its aquipmentfrcrn turtherices. Wewili
pay reasonable expenses incurred to dc
this.

2. Promptiy notify the police if yourcovered
auto or any non-owned auto is stolen.

3. Permit us to inspect and appraise the
damaged property before its repair cr
disposal

 

PART F - GENERAL PROVISIONS

POL|C\' PERIOD AND TERF|!TORY B.

A. This policy applieeonly to accidents and losses
which occur:

1. During the poion period ea shown in the
Dec|araticns; and

2. Within the policy territory.

B. The policy period is the period stated in the
Deciaretlcns. The policy may be renewed for
successive policy periods it the required pre-
mium is paid end accepted by us on or before
the expiration of the current policy perlod. The
premium will be computed at our then current
relator coverage then offered

C. The policy territory is:
‘l. The United States of America, itsterrltcries

or possessions;
2. Puertc Bicc; or
3. Ganada.

’i‘hls pciicy also applies to loss to. cr accidents
involving. your covered auto white being
transported between their ports.

BANKRUPTCY

Bankruptcy or insolvency ot the lrrsured shall not
relieve us cf any obligations under this policy.

CHANGES
A. Belorethe end cfany policy perlcd, we may offer

to change the coverage provided in this policy. D_

Your payment ofthe premium billed by us iorthe
next policy period will be youracoeptanoe ofour
offer.

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This policy, your Dec|arations page and
endorsementsissued byustcthispc||cycontaln
all the agreements between you and us. its
terms may notbe changed or waived except by
endorsement issued by us.

The premium for each vehicle ls based on
inlcrrnatlcnwe have received from you cr other
scurces. Vou agree to cooperate with us in
determining it this information is correct and
complete and you will notify ua if it ohangcs. ii
this lnformation la incorrect, tncompiete, or
changes. we may adjust your premium cr take
other appropriate action based upon the
correctedl compieted or changed inlormatlon.
Ghanges during the policy term that may result
in a premium increase or decrease inolude, but
are not limited to. changes in:

1. The number, type cr use cia.ssiiiceticn cl
insured vehicies.

2. Operators using insuredvehiclesirrc|udlng
newtyltcensedfemliymemberdrivers.Any
household members that have licenses
must be disclosed to Us.

3. The location where your vehicle is
principally gareged.
4. The persons who regularly drive insured

vehiclee, including newly licensed family
members.

5. Oustcmized equipment cr parts.

|fwe make achange which broadens coverage
undertitisedlticn ofyourpciicy without addition-
al premium cherge, that change will automati-
cally apply tc your policy as cf the date we

\Flll

lllllllll|l||l||li ll ll||llll|lll ii l l|l| |illlll|l|lll||ll

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implement the change in your etate. This pera-
graph (D.) does not apply to changes imple-
mented with a general program revision that
includes both broadenings and restrictions in
coverege,whetherthatgenera| program revision
is implemented through introduction ci:

‘l. A subsequent edition cf your polloy; cr
2. An Arnendatcry Endorsement.

E. Additional or return premium of $3.00 or less
resulting from policy changes will be walved.

      
 
 
 

PAYMENT OF FREM|UM

if your initial premium payment is by check, draft or
any remittance otherthan___ , erege under this
policy la conditioned ~ the heck draft cr

remittance being honor

1 pon presentment to the
bank cr other financial in _ _.

§§ the oheck, draft
-' - presentment this
policy may, st our option. be deemed void from its
lnceptlon.This meansthatwew|linotbe|i--_

  

had been honored upon presentment _
FRAUD `

This policy was issued in reliance upon the
information providedonycurappiication. We mayvcid
coverage underthls policy if you or an insured have
concealed or misrepresented any material fact or
circumstance, or engaged in fraudulent conduot, at
the time application was made or any time during the
policy period.

We may void this policy or deny coverage tor an
accident or loss if you or an insured have concealed
cr misrepresented any material fact orclrcumstance,
crengaged in fraudulentconduct. in connection with
the presentation or settlement cf a claim.

We may void this policy or deny coverage for fraud
cr material misrepresentation even after the
cccurrenceofan accident oriosa. This means wewi'll
notice liable for any claims ordamages which would
otherwise be covered. ifwe make epayment, we may
request that you reimburse us. lt so requested you
must reimburse us for any payments we may have

already made.

LEGAL. ACTiON AGAi NST US

A. No legal action may be brought against us until
liters has been full compliance with ali the terms

of this policy. ln additicn, under Part A, no legal
action may be brought against us untii:

1. We agree in writing that the insured has
a legal obligation tc pay damages; or

2. The amount cf that obligation has been
tinain determined by judgment after triai.

B. No person or organization has any right under
this policy to bring us into any action tc
determine the legal liability of an insured.

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OUR RIGHT TO RECOVEH PAYMEI\FI'

A. lfwe make a payment under this policy and the
person to or for whom payment was made has
arlghttc recoverdamages from anotherpsrscn.
entityororganlzatlon we shall be subrogated to
that right. That person shultz

1. Dc whatever is necessary to enable us to
exercise our rights; and

2. Do nothing after loss to prejudice them.

l-lowever, our rights in this paragraph (A.) dc not
appiy under Part D, against any person using
yourcovercd auto with yourexpress orlmplied
permission cr other person having lawful
possession and is not using a vehicle beyond
the scope of the permission granted

B. iiwe make a payment underthls policy and the
person to criorwhom paymentis made recovers
damages from another, that person shall:

1. Hold in trust for us the proceeds of the
recovery; and

Fieimburse ustothe extentofourpayment.

C. 1. Ourrights do riot apply underparegraph A.
with respect to coverage under Paragraph
2. cf the definition of uninsured motor

_ vehicle il:

we have been given prompt written
notice of a tentative settlement
between an insured and the insurer
of an uninsured motor vehlcie; and

we fail to advance payment to the
insured in an amount equal to the
tentative settlement within 30 days
aite'“» ~»i»-°‘ of notification

__ advance payment to the
lnsuredin ='.r-= cuntequaltothetentative
settlement zfit in 30 days alter receipt of
notification "

ll we advance payment to the insured in an
amount equal to the tentative settlement within
30 days after receipt of nctiflcatlon:

a. That payment will be separate from
any amountthe insured le entitled to
recover under the provisions of
Uninsured Motcrists C>overage; and

b. We also have a right to recover the
advanced payment

D. This provision does not applyto Personal ln]ury
Protecllon Ocverage.

TEFlMlNATlON

A. Cenceliatlcn. This policy may be canceled
during the policy period as follows:

‘l. The named insured shown in the Deciara'
lions may cancei by:

a. returning this policy to us; cr

 

 
  
  

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b. giving us advance written or verbal
notice of the date cancellation is to
take effect We may waive the
requirementthe notice be inwriiing by
confirming the date and time cf
cancellation to you in writing.

2. We may cancel by mailing to the named
insured shown in the Dec|arations at the
address shown in this policy:

a. st least 10 days nctlce:

(1) ifcancellatfon is for nonpayment
of premium; or

(2) if notice is mailed during the first
60 days this policy is in effect
and this is not a renewal or
continuation policy; or
b. at least 20 days notice in all other
casea.

3. We will not cancel this policy solely
because you are an elected cfficlal.

fit After this policy is in effect for 60 days, or
ll this is a renewal policy. we will cancel
only:
a. for nonpayment of premium; cr

b. fortraudormaterialmlsrepreserrtatlon
concerning the policy or lnsureds; or

c. if your drivers license or that of:
(1) any driver who lives with you: or

(2) anydriverwho customarily uses
your covered auto;

hasbeen suspendedor revoked This
must have cccurred:

(‘l) During the policy perlod; or

(2) S|nce the lest anniversary cf tl're
original effective dateiithepciicy
period is other than 1 year.

i-|owever, in tire event you cr a driver
described in 4.c. above has had his
cr her driver's license suspended or
revoked, before canceling this policy
wswl ll efforts continue the policy with
s provision excluding coverage when
the person who has had his or her
driverl s license suspended orrsvclrrsd
is operaan your covered auto. lf
such offer is accepted by you, we will
issue an endorsement to that elfect;
or

d. litheTexasDepartmsntoflnsurance
determines that continuation of the
policy would result in aviciatlon of the
Texas insurance Code or any other
law governing the business of
insurance in Texes.

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B. Ncnrenewal. ii we decide not to renew this

policy. we will mall notice tc the named insured
shown in the Declaretlons attire address shown
in this policy. Notlcs will be mailed st least 30
days before the end cf the policy perlcd. We will
have the right notto renew cr continue ltonly at
each 1 year anniversary of its original effective
date.

However, we will not refuse to reneworccntinue
this policy solely because:

1. Of the age ci you or any family msml:rer;
or

2. You are an elected official

Automatlc Termlnation. lt we offer to renew
and you or your representative do not accept,
this policywlllautomaticaiiytenn|nate atthe end
cf the current policy perlcd. Faliuro to pay the
required renewal premium when due shell mean
that you have not accepted our oifer.

ii you obtain other insurance on your covered
autc, any similar insurance provided by this
policy will terminate as to that auto on the
effective date of the other insurance.

D. Othsr Termlnaticn Provlsione.

1. litho law ln effect in your stats at the time
this policy is issued cr rsnewed:

a. requires a longer notice period;

b. requires a special form of or proce-
dure for giving nctlce; or

c. modifies any cf the stated termination
reasons;

we will comply with those requirements

2. We may deliver any notice instead of
mailing lt. Proof of mailing cf any notice
shall be sufficient proof of notice.

3. |f this policy is canceled. you may be
entitled to a premium refund. if sc, we will
send you the refund. The premium refund,
lfany, will be ccmputedpro rata. chever,
melting proffering tomalte the refund le not
a condition cl cancellatlcn.

4. The effective date of cancellation stated in
the notice shall become the end of the
policy period.

rnansr=sa cs Ycun rnrsrras'r`rn mrs Por.rcv
A. Your rights and duties underthls policy may not

be assigned without our written consent
chever, lf a named insured shown in the
Deciaratlonsd|es,coveragewilibeprcvidsdfcr:

1. The surviving spouss, civil partner cr
domestic partner If resident |n the same
household attl're time of death. Goverags
applies to the spouse. civil partner or
domestic partner as if a named insured
shown ln the Dsclaratlcns; end

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2. The legal representative cline deceased
person asif anamed insured shown in the
Deciarations.'i'his applies on|ywith respect
to the representative s legal responsibility
to maintain or use your covered eutc.

B. Ooverage will only be provided until the end of
the policy period.

TWO OFi MORE ALITOS |NSURED; TWO OFi
MOHE AUTO POLIC]ES

litnis policy insures two or more autos or lt any other
auto insurance policy issued to you by us applies to
the same acoident, the maximum limit of our liability
shell not exceed the highest limit applicable to any
one atrto. |n no event shai_?,_s = '§lit`rc; t of liability oi two
or more motor vehicles »}`§_<I c or.r`=nore policies be
added together, comban cr stacked to determine
the iimitolinsursnce cove z av,s);tsb|etc youorany
insured. ' =~ “`“I»”"-"

LOSS PAYABLE OLAUSE

As to the interest of the loss payeel title " `: "
remain in effect from the inception date l
days enerprootoi mailing that the oanoeli j -_
has been mailed tothe loss payee. When "`;
loss payee we shalll to the extent of peym
the loss payee's rights ct recovery.

Where traud, rnie’,re|sr'errentr.=ttionl material omission,
or intentional damage has been committed by or et
the direction ct any lnsured, or where the loss is
otherwise not covered under the terms cl the policy.
the loss payee or |lenho|der's interest will not be
protected

STORAGE GOSTS

if you give us your consent we may move the
damagedpwPMW. atcurexpense, to reduce storage
costs during the claims process. if you do not give
us your coneent, we will pay only the storage costs
which would have resulted if we had moved the
damaged property.

NAMED DFii\lEFt EXCLUS|ON

ll there is en excluded driver under this policy. then
we will riot provide coverage ior erryo|alm arisingle
an accident or loss involving a motor vehicle being
operated bythat excluded person. This includes any
claim for damages made against you or any family
member or any other person or organization that is
vicariously liable for en accident arising out ot the
operation ct a motor vehicle by the excluded driver.

PAYMENT OF FiF\'ST PAFiTY BENEF|TS

A. Within 15 days alter we receive your written
notice of olalm, we must:

‘l. Acknowledge receipt of the ciairn.

     

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if our acknowledgment of the claim is not
in writing,wewlll keep erecord cfthe date,
method and content cl our acknowledg-
ment.

2. Begin any investigation of the oieirn.

3. Spec|ly the information you must provide
in accordance with paragraph A. above.

We may request more inionnaticn, ii during the
investigation of the claim such additional
information is necessary

B. Afterwe receive the intormationwe request. we
must notify you in writing whether the claim will
be paid or has been denied or whether more
inletmatlon is needed:

1. Within 15 business days; or

2. Withln 30 days ifwe have reason to believe
the loss resulted from erson.

C. ll we do not approve payment cf your claim or
require more timeiorprccessi ng yourclaim,we
must:

1. Give the reasons for denying your claim;
or

2. Give tire reasonswe require more time to
process your claim. But, we must either
»r = -prove ordeny your oleim within 45 days

j : ‘ er our requesting more time.

.. ` "”= event ct aweamer-reiated catastrophe or

§§ meier natural disaster. as defined by the Texas

' "‘ Depertment cl lnsuranoe, the claim-handling
deadlines es stated above are extended for an
additional 15 daye.

LOBS PAYMENT a

A. ifwe notify you-s__§ '(
part of your cli;n, we must pay within 5
business days `=i rwe notify you.

B. ii payment cf your claim cr part cf your claim
requires the perfonnsnce cf en act by you, we
must pay within 6 business days after the date
you perform the act.

NOT|CE OF SETTLEMENT OF LlABlLiT‘( CLA|M

A. We will notify you in writing of any initial oiler to
compromise or settle ecielm against you under
the liability section oftnis policy. Wewiliglve you
no;idce within 10 days alter the date the offer ls
m e.

B. We will notify you in writing cl any settlement ct
a claim against you under the liability section of
thlspolioy. We wl il give you noticewithin SUdays
after the date of the settlement

  
 

  
   

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ADDIT|ONAL COVEHAGES .

AGREEMENT: WE WILL PROV|DE THE |NSUF\'ANCE DESCFIIBED lN EACH OF THE FOLLOWING
ADDIT|ONAL COVERAGES ONLY lF |NDICATED iN THE DECLARATIONS.

TOW|NG AND LABOR COSTS COVEHAGE

A. Wewi|lpay reasonable expenses inounedeaoh
time your covered auto or a non-owned auto
is dlsabied, for:

1. Tcwing to the nearest piece where neces-
sary repairs can be made during regular
business hcurs;

2. Tcwing to dislodge the vehicle from its
place of disablement il on or next to a
public street cr highway;

3. Mechanica| labor up to one hour at ihs
place ct its breakdown, including change
ci tlre;

4. Deilvery ofgesoilne, oil or loaned battery.
We do not pay the cost ci these ltems.

B. We will pay for key lock-cut services and labor
costs incurred at the location of your covered
auto cr non-owned auto,butnctexcesdlng $50
for services prcvided.

No deductible applies tc this coverage.

 

LOSS OF USE CQVERAGE

The provisions and exclusions that apply to Part D
--Ocverege ior Darnage to Your Auto also apply to
this coverage except as changed beiow:

When there is a loss tc any vehicle described in the
Deciarations for which a specific premium charge
indicates that Loss of Use cherage is afforded, we
will reimburse you for expenses you incur to rent a
substitute vehloie.

This coverage applies only if:

1. The vehicle le withdrawnirom use iorrncre
than 24 hcurs; and

2. The loss is caused by coilisicn, or is
covered by the Oomprehen sive Coverage
ot this policy;

However, this coverage does not apply to losses
caused by collision ii Ocllision Ocverage does not
apply to the vehicle.

Our payment will be limited to that period of time
masonsny required to repair or replace the ve hicie.
We will pay up to the amount per day and the
maximum shown tcr Loss of Use in the Deciareilons.

No deductible applies to this coverage

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SUPPLEMENTARY DEA.TH BENEFIT
ENDORSEMENT

Goverage under this endorsement is provided and
payable only whenotherbensiltsare paid orpayabie
under“. Personai injury Protection Goverage, Medical
Paymsnts cherage sndiorAuto Death indemnity as
aiforded bythis policy. The coverage is subjectto the
provisions oi Personai injury Pictection Covsrage,
Medica| Payments Ooverage andlor Autc Death
indemnity except as limited by this endorsement

lt is agreed that Medical Payments Ocverage,
Personai injury Protection Ocverege ancilor Auto
Death indemnity are extended to add the icilowing:

insuring Agreement And Lirnit Oi Llability

We will pay a supplementary death benefit equal to
the limit shown fortna applicable coverages but not
more than $10,000 per person because cf death:

1. Oaused by an auto accident and

2. Sustalned by an insured white wearing a
seat belt or protected by an air bag.

We will pay benefits only if an auto accident was the
prcximatecause cf death occurring withlntttree years
oi the date ci such accident However, under Auto

Death indemnity, death must cccurwithin one year
of the date cf such accident

Proot 01 Cialm

We will pay benefits underthie endorsement little
beneficiary gives us proof of death or the insured
along with a police report or other proof, that the
insured atthe time oiths auto accident. waswearlng
asset belt or protected by an air bag.

Oti'rer Coverags Provided By This Pciicy

Any amounts payable under this endorsement shall
not be reduced by any other amounts paid or payable
under this policy.

Deflnifion$

“lnsured" as used in this endorsement means the
same as “insured" as defined in the applicable
Mec§cci Payrnents Ooverage and/cr Pereonal injury
Protecticn Ooverage. lt also means the rson or
persons designated in Auto Death in emnity ii
afforded

“Seat Be|t” means manual or automatlcsaiety belts
or seat and shoulder restraints or a child restraint
device.

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“Air hag” ls afunoiloning air bag designed w protect
the occupant oi a seat |n an auto.
"Beneflciary" means (ln orderofpriorityai paymeni):

1. The surviving spouse lf a resident in the
same household as the deceased at the
time of the aecldent. or

 

2.

3.

li the deceased is an unmarried minor,
either of the surviving parents who had
legal custody al the lime of the mcldent,
or

The estate ofthe deoeeaed.

 

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